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8                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
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                                         eUi
                                     Plaintiff,          CASE NO
                                                                   C22-04I18S'''
12            vs.                                       APPLICATION TO PROCEED
                                                        IN FORMA PAUPERIS
13                                                       (Non-prisoner cases only)
14                      f)           Defendant

15

16            I,                     (\fP         (\e.cAfire. under penalty of peijury that I am the plaintiff
17   in the above entitled case and that the information I offer throughout this application is true and

18   correct. I offer this ^plication in support of my request to proceed without being required to

19   prepay the full amount offees, costs or give security. I state that because ofmy poverty I am

20   unable to pay the costs of this action or give security, and that I believe that I am entitled to relief.

21            In support ofthis application,I provide the following information:

22   1.       Are you presently employed?                             Yes        No

23   If your answer is "yes," state both your gross and net salary or wages per month, and give the

24   name and address of your employer:
                                 ^ f I
25   Gross:

26   Employer:

27

28   If the answer is "no," state the date oflast employment and the amount of the gross and net salary



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